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          In the United States Court of Federal Claims
                                        No. 20-1237C
                                   (Filed: March 9, 2021)


                                           )
 TEJA RAVI,                                )
                                           )
                      Plaintiff,           )
                                           )
 v.                                        )
                                           )
 THE UNITED STATES,                        )
                                           )
                      Defendant.           )
                                           )


                 ORDER SCHEDULING STATUS CONFERENCE

       The court hereby SCHEDULES a status conference for Wednesday, March 17
at 11:00 a.m. eastern time. The proceeding will be held via AT&T Teleconference with
a court reporter present. Counsel for each party have been provided with the dial-in
information.

       The court has reviewed the amended complaint, the government’s motion to
dismiss, the response thereto, and the reply. While this status conference will not be an
oral argument on the motion to dismiss, the parties should be prepared to discuss the
motion to dismiss, and, specifically, the following:

       1. The amended complaint alleges that the plaintiff, Teja Ravi, “is a citizen of
          India who resided in Houston, Texas at the time he enrolled” at the University
          of Farmington. Am. Compl. ¶ 6, ECF No. 8. Under the Reciprocity Act, 28
          U.S.C. § 2502, “[c]itizens or subjects of any foreign government which
          accords to citizens of the United States the right to prosecute claims against
          their government in its courts may sue the United States in the United States
          Court of Federal Claims if the subject matter of the suit is otherwise within
          such court’s jurisdiction.” Mr. Ravi should be prepared to discuss his standing
          to sue the United States in this court as a citizen of India.
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2. Mr. Ravi attaches to the amended complaint an I-20 Certificate of Eligibility
   for Nonimmigrant Student Status, email correspondence with the University of
   Farmington, an admission letter, and a tuition invoice. Am. Compl., Exs. 1-2.
   However, the names and other information on these documents are redacted.
   See id. Mr. Ravi should be prepared confirm whether these documents were
   addressed to him.

3. It is undisputed that the University of Farmington was an undercover operation
   run by law enforcement agents to expose student visa fraud. See Am. Compl. ¶
   1; Reply at 1, ECF No. 12. However, neither the government nor Mr. Ravi
   explain the results of the University of Farmington operation and any
   subsequent immigration proceedings pertaining to Mr. Ravi. The government
   also does not raise the issue of the illegality of the alleged contract and whether
   Mr. Ravi may recover money voluntarily exchanged in an undercover
   transaction. The parties should be prepared to discuss these issues, whether the
   court should consider these issues at this stage of the litigation, and whether
   consideration of this additional information would convert the government’s
   motion to dismiss into a motion for summary judgment. See, e.g., RCFC
   12(d); Easter v. United States, 575 F.3d 1332, 1335 (Fed. Cir. 2009) (noting
   that the court may in its discretion treat a motion to dismiss for failure to state a
   claim as a summary judgment motion if the court considers matters outside the
   pleadings); Terry v. United States, 103 Fed. Cl. 645, 652 (2012) (noting that
   the court may consider materials that are integral to the complaint, public
   records, or materials that are otherwise appropriate for taking judicial notice
   without conversion).

4. Putting aside issues of contract illegality, the government should be prepared to
   address whether the government was entitled to retain the tuition money as part
   of a certified undercover operation. See 8 U.S.C. § 1363a. The government
   should also be prepared to discuss whether Mr. Ravi may recover his tuition
   money by some other means than a breach of contract claim in this court, for
   example, through any immigration proceedings.

5. Mr. Ravi argues that his tuition payment and correspondence with the
   University of Farmington amounted to a valid contract that was later breached
   when it was revealed that the University was a sham, and that law enforcement
   personnel with actual authority bound the United States because that contract
   was a necessary part of the University of Farmington operation. See generally
   Resp., ECF No. 9. The government contends that the amended complaint itself
   acknowledges that the government never intended to provide educational
   services to Mr. Ravi, and that therefore no contract was formed and it is
   implausible that any law enforcement personnel would have authority to bind
   the United States in contract. Reply at 3-9. The government also suggests that


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      any contract is void ab initio due to the government’s false statements inducing
      Mr. Ravi to contract with the University. Id. at 8.

      Issues of intent and contracting authority are often considered by this court on
      motions for summary judgment or at trial, and issues regarding
      misrepresentation are often treated as an affirmative defense to a contract
      claim. The government should be prepared to address why dismissal at this
      stage is appropriate, whether it would be more appropriate for the government
      to submit affidavits regarding the purpose and intent of the University of
      Farmington operations and its agents’ authority to contract before deciding this
      issue, and whether consideration of these materials would convert the
      government’s motion to dismiss into a motion for summary judgment. See,
      e.g., Oswalt v. United States, 41 F. App’x 471, 472 (Fed. Cir. 2002) (noting
      that where a jurisdictional issue is intertwined with the merits of the case, a
      decision on jurisdiction should await a determination of the merits “either by
      the court on a summary judgment motion or by the fact finder at trial”
      (quotation omitted)); Mendez v. United States, 121 Fed. Cl. 370, 384-85 (2015)
      (deferring a Rule 12(b)(6) challenge based on authority to contract for
      consideration on summary judgment).

IT IS SO ORDERED.

                                                     s/Nancy B. Firestone
                                                     NANCY B. FIRESTONE
                                                     Senior Judge




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